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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA

   AIG SPECIALTY INSURANCE                       * CIVIL ACTION NO. 21-cv-04191
   COMPANY (f/k/a CHARTIS                        *
   SPECIALTY INSURANCE                           *
   COMPANY)                                      * JUDGE ROBERT R. SUMMERHAYS
    Plaintiff                                    *
                                                 * MAGISTRATE CAROL B.
   VERSUS                                        * WHITEHURST
                                                 *
   KNIGHT OIL TOOLS, INC. AND                    *
   RIPPY OIL COMPANY                             *
      Defendant                                  *
                                                 *
   RIPPY OIL COMPANY                             *
      Intervenor                                 *
                                                 *
  * * * * * * * * * * * * * * ** * * * * * * * * * *

          AIG SPECIALTY INSURANCE COMPANY’S JOINT MEMORANDUM
   IN OPPOSITION TO RIPPY OIL COMPANY’S MOTION FOR ABSTENTION AND TO
         DISMISS COMPLAINT FOR DECLARATORY JUDGMENT OR IN THE
                    ALTERNATIVE STAY OR TRANSFER AND
     IN OPPOSITION TO KNIGHT OIL TOOLS, INC.’S MOTION TO DISMISS, OR IN
                  THE ALTERNATIVE, TO STAY PROCEEDINGS


  ROBERT I. SIEGEL (#10263)
  ALISTAIR M. WARD (#24693)
  GIEGER, LABORDE & LAPEROUSE, LLC
  701 Poydras Street, Suite 4800
  New Orleans, Louisiana 70139-4800
  Attorneys for AIG Specialty Insurance Company f/k/a Chartis Specialty Insurance Company
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           MAY IT PLEASE THE COURT:

           Plaintiff AIG Specialty Insurance Company (“ASIC”) respectfully submits this joint

  memorandum in opposition to: (i) the Motion for Abstention and to Dismiss Complaint for

  Declaratory Judgment or in the Alternative Stay or Transfer filed by Intervener Rippy Oil

  Company (“Rippy”) [R. Doc. 36]; and (ii) the Motion to Dismiss, or in the Alternative, to Stay

  Proceedings filed by Knight Oil Tools, Inc. (“Knight”) [R. Doc. 42] (hereinafter, jointly referred

  to as “Motions to Dismiss”). ASIC respectfully requests that this Honorable Court deny the

  Motions to Dismiss, and in support of such denial, ASIC avers as follows:

      I.       INTRODUCTION

           This is an insurance coverage dispute over whether ASIC, an umbrella insurer for Knight,

  owes coverage for a judgment against Knight in an underlying lawsuit filed by Rippy for damages

  allegedly sustained during the drilling of a well.1

           To resolve the coverage dispute, ASIC filed the instant declaratory judgment action seeking

  a declaration that coverage is not owed under the ASIC policy for the liabilities of Knight arising

  out of the underlying lawsuit.2 Subsequently, and after learning of ASIC’s instant action against

  Knight, Rippy filed its own declaratory judgment action in Texas state court seeking to recover

  from ASIC the judgment Rippy secured against Knight. Rippy also named as defendants ACE

  American Insurance Company (“ACE”) (Knight’s primary insurer) and Risk Specialists (a surplus




  1
    The suit in the Leon County State Court is captioned and docketed Rippy Oil Co., et al. v. Knight Oil Tools, Inc., et
  al., Case No. 0-10-498 and was originally filed in the 12th Judicial District Court, which transferred the case to the
  369th as a result of State District Court reorganization and subsequently transferred again to the 278th where the case
  proceeded to trial in May of 2018.
  2
    See R. Doc. 1.

                                                            1
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  lines broker).3 On January 27, 2022, ASIC removed Rippy’s second-filed declaratory judgment

  action to the United States District Court for the Southern District of Texas.4

            Because this suit is the first-filed declaratory judgment action, raises proper justiciable

  issues, and addresses the same issue as the second-filed declaratory judgment action—i.e., whether

  the ASIC policy provides coverage for the judgment against Knight in the underlying lawsuit filed

  by Rippy—this Court should deny Knight and Rippy’s respective Motions to Dismiss.5

      II.      PROCEDURAL AND FACTUAL BACKGROUND

               A. The Underlying Lawsuit.

            On or about January 13, 2011, Rippy Oil Company; Rippy Interest LLC; The Genecov

  Group, Inc.; and John D. Proctor (collectively “Rippy”) filed suit against Knight in state court in

  Leon County, Texas, for damages that occurred when a drill pipe supplied by Knight broke during

  the drilling of a well. That lawsuit is captioned Rippy Oil Co., et al. v. Knight Oil Tools, Inc., et

  al., Case No. 0-10-498 (“the Underlying Lawsuit”). Knight filed for bankruptcy on August 8, 2017,

  in the United States Bankruptcy Court for the Western District of Louisiana. On October 24, 2017,

  the United States District Court for the Western District of Louisiana lifted the automatic

  bankruptcy stay for the limited purpose of allowing the prosecution of the Underlying Lawsuit.

  Pursuant to the Order of the Bankruptcy Court, Rippy was only entitled to seek recovery to the

  extent the claims were covered by Knight’s applicable insurance policies, and Knight’s liability

  was to be limited to the extent of any coverage provided by Knight’s insurance policies.6 Upon

  information and belief, Knight’s Chapter 11 Plan of Reorganization was confirmed on December




  3
    See R. Doc. 1-3.
  4
    See ASIC’s Notice of Removal, filed in the United States District Court for the Southern District of Texas, Civil
  Action No.: 4:22-CV-000276, ECF No. 1, attached hereto as Exhibit A.
  5
    See R. Doc. 1; R. Doc. 1-2, pp. 19–20 ¶¶ 49–50.
  6
    See R. Doc. 1-4.

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  1, 2017, Knight was discharged from bankruptcy, and the bankruptcy proceeding terminated on

  June 17, 2019.7

          The Underlying Lawsuit can be summarized as follows:

                   Knight [] rents drill pipe to oil companies and oil well operators for
                   drilling oil and gas wells. Rippy [] made plans to drill a well in the
                   Eagle Ford Shale and contacted Knight to supply pipe for drilling
                   the horizontal portion of the Easterling 1-H Well . . . Knight
                   delivered pipe and other equipment to the Easterling 1-H Well site
                   with a delivery ticket and sent the invoice to the main office. The
                   delivery ticket contained language that the pipe measurements
                   complied with the dimensions for American Petroleum Institute
                   (A.P.I.) premium class and/or Knight [] value. The testimony at trial
                   established that pipe marked with two white bands meets the
                   standards for A.P.I. premium pipe. The pipe delivered by Knight
                   was marked with two white bands, but the trial record shows that
                   some of the pipe delivered did not comply with the dimensions for
                   A.P.I. premium class pipe.

                   On May 11, 2010, one of the drill pipes supplied by Knight broke
                   while it was in the well. The parties agreed that the pipe failure was
                   caused by fatigue. Rippy was not able to recover the broken pipe
                   and the drill string beyond it and eventually had to abandon the
                   Easterling 1-H Well. Rippy attempted to drill an offset well,
                   Easterling 2-H, but that effort was unsuccessful. Rippy filed suit
                   against Knight to recover damages for the lost well, and Knight filed
                   a counterclaim to recover for unpaid invoices.8

          The Underlying Lawsuit proceeded to a jury trial on May 1, 2018.9 On May 10, 2018, after

  the close of the evidence at trial, the jury found that Knight breached its implied warranty of fitness

  for a particular purpose and made a negligent misrepresentation with respect to the condition of

  the drill pipe.10 The jury found that the well was not capable of being reproduced by drilling

  another well and that the reasonable and necessary costs for drilling and equipping the well were


  7
    See United States Bankruptcy Court for the Western District of Louisiana’s Findings of Fact, Conclusions of Law,
  and Order Confirming the Debtors’ Joint Chapter 11 Plan of Reorganization as of November 29, 2017, filed on
  December 1, 2017 in case no. 17-51014, ECF No. 576, p. 125, ¶ D. Insurance Policies, attached hereto in pertinent
  part, as Exhibit B, pp. 12–13.
  8
    R. Doc. 1-9, pp. 2–3.
  9
    See R. Doc. 1-6.
  10
     Id.

                                                          3
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  $1.5 million.11 The jury also found that the fair market value of the well before the pipe separation

  was $5.9 million and that the fair market value of the well after the pipe separation was $0.12 The

  jury also found that Rippy failed to pay Knight $361,356.87 in invoices.13

           Rippy filed a Motion for Judgment, and on June 4, 2018, the court entered a Final Judgment

  ordering Knight to pay Rippy $5,538,643.13 plus prejudgment interest in the amount of

  $2,056,885.14 through June 1, 2017, an additional $758.72 per day until the day prior to when the

  final judgment was signed, and 5% interest, compounded annually, in post-judgment interest.14

  Knight appealed the Judgment to the Court of Appeals, Tenth District of Texas, Case No. 10-18-

  00284-cv. The appellate court affirmed the trial court’s Judgment on November 10, 2021. Knight

  has filed a petition for review with the Texas Supreme Court, Case No. 21-1115.15

               B. The Instant First-Filed Declaratory Judgment Action.

           On December 7, 2021, ASIC filed the instant declaratory judgment action (“the First-Filed

  Declaratory Judgment Action”) in this Court seeking a declaration that coverage is not available

  under the ASIC policy for the damages assessed against Knight in the Underlying Lawsuit.16 On

  January 7, 2022, Rippy moved to intervene in this First-Filed Declaratory Judgment Action, and

  the intervention was granted on January 18, 2022.17 Subsequent to its intervention, Rippy filed its

  Motion to Dismiss on March 15, 2022, which ASIC presently opposes.18 Knight filed its

  responsive pleading in the form of the Motion to Dismiss March 22, 2022, which ASIC presently

  opposes.19


  11
     Id.
  12
     Id.
  13
     Id.
  14
     Id.
  15
     See R. Doc. 1-10.
  16
     See R. Doc. 1.
  17
     See R. Doc. 4; R. Doc. 12.
  18
     See R. Doc. 36-1.
  19
     See R. Doc. 43.

                                                   4
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                C. The Second-Filed Declaratory Judgment Action.

            Despite the pendency of this First-Filed Declaratory Judgment Action, on December 29,

   2021, Rippy filed suit against ASIC, ACE (Knight’s primary insurer), and Risk Specialists (the

   producing surplus lines broker for the ASIC Policy) (“the Second-Filed Declaratory Judgment

   Action”).20 In the Second-Filed Declaratory Judgment Action, Rippy alleges that it has standing

   to sue ACE and ASIC under the policies issued to Knight as a judgment creditor and/or as a third-

   party beneficiary.21 Rippy alleges breach of contract against ACE and ASIC, and seeks a

   declaration of coverage under the ACE and ASIC polices.22 On January 27, 2022, ASIC removed

   Rippy’s Second-Filed Declaratory Judgment Action to the United States District Court for the

   Southern District of Texas based on diversity of citizenship.23 Accordingly, the Second-Filed

   Declaratory Judgment Action is now pending in the United States District Court for the Southern

   District of Texas. On February 1, 2022, ASIC filed a Motion to Dismiss, or in the Alternative, to

   Transfer or Stay the Second-Filed Declaratory Judgment Action.24 That motion will be fully

   briefed as of the date of this opposition.

                D. Rippy and Knight’s Respective Motions to Dismiss.

            Rippy’s Motion to Dismiss makes two separate and distinct arguments, both of which are

   premised upon misrepresentations. The first is that at the time ASIC filed the present action, a


   20
      R. Doc. 1-2.
   21
      See id.
   22
      See id.
   23
      See Exhibit A. ASIC’s notice of removal asserted that Rippy’s allegations regarding Risk Specialists’ citizenship
   are inaccurate and/or fraudulent and were calculated to defeat diversity. Id. Although Rippy properly alleged that
   Risk Specialists’ state of incorporation is Massachusetts, Rippy improperly alleged that Risk Specialists’ principal
   place of business is Houston, Texas. Risk Specialists’ principal place of business is not in Texas, and Risk Specialists
   is therefore a diverse party. Further, Rippy has no right of action against Risk Specialists and only named Risk
   Specialists as a party to defeat diversity jurisdiction. Id. As of the date of this filing, Rippy has not opposed the
   argument that Risk Specialists was fraudulently or improperly joined nor has Rippy filed a motion to remand the case
   back to Texas state court.
   24
      See ASIC’s Motion to Dismiss, or in the Alternative, to Transfer or Stay and Brief in Support, filed in the United
   States District Court for the Southern District of Texas, Civil Action No. 4:22-CV-00276, ECF No. 4, attached hereto
   as Exhibit C.

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   parallel Texas state court action was pending before the Texas Supreme Court.25 The second is

   that Rippy filed its own coverage litigation in Texas state court before ASIC filed the instant action,

   making Rippy’s action the first-filed litigation seeking a declaration on coverage.26 As set forth

   herein, neither representation is accurate.

        In Knight’s Motion to Dismiss, Knight acknowledges that the instant suit is the first-filed

   declaratory judgment action brought on the issue of coverage.27 However, Knight contends that

   this Court should decline to decide the instant declaratory judgment action because ASIC seeks

   declarations on non-justiciable questions, fails to state a claim upon which relief can be granted,

   and fails to join the proper parties.28 Additionally, Knight advocates that the Court should exercise

   its discretion and dismiss the instant action because this case was brought with the improper

   purpose of “procedural fencing.”29 As explained below, Knight is wrong on both fronts.

        III.      LAW AND ARGUMENT

                  A. Legal Standard for Dismissal due to the Pendency of a Parallel Federal
                     Proceeding.

               “The federal courts long have recognized that the principle of comity requires federal

   district courts—courts of coordinate jurisdiction and equal rank—to exercise care to avoid

   interference with each other’s affairs.”30“As between federal district courts . . . the general

   principle is to avoid duplicative litigation.”31 “The concern manifestly is to avoid the waste of

   duplication, to avoid rulings which may trench upon the authority of sister courts, and to avoid




   25
      See R. Doc. 36-1, p. 5 ¶ 3.
   26
      Id.
   27
      R. Doc. 42, p. 12.
   28
      Id. at p. 2.
   29
      Id. at pp. 2–3.
   30
      W. Gulf Mar. Ass’n v. ILA Deep Sea Local 24, S. Atl. & Gulf Coast Dist. of ILA, AFL–CIO, 751 F.2d 721, 728 (5th
   Cir.1985) (citing Kerotest Mfg. Co. v. C–O–Two Fire Equip. Co., 342 U.S. 180, 72 S. Ct. 219, 96 L.Ed. 200 (1952)).
   31
      Colo. River Water Conservation Dist. v. United States, 424 U.S. 800, 817, 96 S. Ct. 1236, 47 L.Ed.2d 483 (1976).

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   piecemeal resolution of issues that call for a uniform result.”32 To effectuate this policy, a district

   court may dismiss, stay, or transfer “an action where the issues presented may be resolved in an

   earlier filed action pending in another district court.”33 In particular, “[a] court may . . . in its

   discretion dismiss a declaratory judgment or injunctive suit if the same issue is pending in litigation

   elsewhere.”34

           The Fifth Circuit adheres to the “first-to-file rule,” which states that “when related cases

   are pending before two federal courts, the court in which the case was last filed may refuse to hear

   it if the issues raised by the cases substantially overlap.”35 This rule “maximize[s] judicial economy

   and minimize[s] embarrassing inconsistencies” by permitting a district court to “prophylactically

   refus[e] to hear a case raising issues that might substantially duplicate those raised by a case

   pending in another court.”36

           Under Fifth Circuit precedent, “the court in which an action is first filed is the appropriate

   court to determine whether subsequently filed cases involving substantially similar issues should

   proceed.”37 In other words, “[i]n the absence of compelling circumstances the court initially seized

   of a controversy should be the one to decide whether it will try the case.”38

                B. There is Substantial Overlap Between the First-Filed and Second-Filed
                   Declaratory Judgment Actions.

           The “crucial inquiry” under the first-to-file rule is whether there is “substantial overlap”

   between the two actions.39 The rule does not require that the claims or even the parties be


   32
      W. Gulf Mar. Ass’n., 751 F.2d at 729.
   33
      Id. at 728.
   34
      Id.
   35
      Cadle Co. v. Whataburger of Alice, Inc., 174 F.3d 599, 603 (5th Cir. 1999) (emphasis added).
   36
      Id. at 604.
   37
      Save Power Ltd. v. Syntek Fin. Corp., 121 F.3d 947, 950 (5th Cir. 1997).
   38
      Mann Mfg., Inc. v. Hortex, Inc., 439 F.2d 403, 407 (5th Cir. 1971). ASIC has filed a Motion to Dismiss, or in the
   Alternative, to Transfer or Stay Rippy’s Second-Filed Declaratory Judgment in the United States District Court for
   the Southern District of Texas. See Exhibit C.
   39
      See Save Power, 121 F.3d at 950.

                                                            7
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   identical.40 If the two actions are likely to “overlap on the substantive issues,” they should be

   consolidated in “the jurisdiction first seized of the issues.”41 Accordingly, this Court must

   determine whether the First-Filed and Second-Filed Declaratory Judgment Actions involve

   “substantially similar issues.” As shown below, the answer is a resounding yes.

            First, there is significant overlap in the parties. In the First-Filed Declaratory Judgment

   Action, the parties are Plaintiff ASIC, Defendant Knight, Intervenor Rippy, and pending

   Intervenor ACE.42 Through intervention, all necessary parties have been joined including Rippy

   and ACE, should the Court grant ACE’s intervention.43 In the Second-Filed Declaratory Judgment

   Action, the parties are Rippy, ASIC, and ACE.44 Thus, with the exception of Knight and

   improperly joined Risk Specialists, the parties to the two federal declaratory judgment actions are

   identical.45




   40
      See Int’l Fid. Ins. Co. v. Sweet Little Mexico Corp., 665 F.3d 671, 678 (5th Cir. 2011) (“The rule does not require
   the cases to be identical”); W. Gulf Mar. Ass’n, 751 F.2d at 731, n. 5 (noting that incomplete identity of the parties
   does not require the simultaneous litigation of two essentially identical actions where the parties could obtain complete
   relief in one forum and any missing parties could probably be joined in that action).
   41
      Mann Mfg., 439 F.2d at 408, n. 6; see also id. (“Once the likelihood of substantial overlap between the two suits
   had been demonstrated, it was no longer up to the [court in the second-filed case] to resolve the question of whether
   both should be allowed to proceed;” that authority belonged to the court in the first-filed case) (emphasis added);
   Cadle, 174 F.3d at 606 (“[O]nce the district court found that the issues might substantially overlap, the proper course
   of action was for the court to transfer the case to the [first-filed] court to determine which case should, in the interests
   of sound judicial administration and judicial economy, proceed.”) (emphasis added).
   42
      ACE has filed a Complaint-in-Intervention and Request for Declaratory Relief, which remains pending. See R. Doc.
   17.
   43
      See Harris v. Amoco Prod. Co., 768 F.2d 669, 674–75 (5th Cir. 1985) (noting an “intervenor is treated as if he were
   an original party and has equal standing with the original parties”). However, should the Court deem Rippy and ACE’s
   intervention to be insufficient and find that they are not properly joined parties, ASIC requests leave of court to amend
   its complaint to name both entities as defendants to the instant action to cure any defects. Pursuant to Federal Rule of
   Civil Procedure 15, unless there is substantial reason to deny leave to amend the complaint, the discretion of the
   federal district court is not broad enough to permit denial. Wedgeworth v. Fibreboard Corp., 706 F.2d 541, 546 (5th
   Cir. 1983) (noting that where plaintiffs pursue amendment of the complaint timely, properly and responsibly, denial
   of a motion to amend would be appropriate only if there were no legal basis for amendment).
   44
      Although Rippy also named Risk Specialists as a defendant in the Second-Filed Declaratory Judgment, ASIC’s
   notice of removal asserts that Risk Specialists was fraudulently and/or improperly joined. Rippy has not opposed the
   removal.
   45
      See Exhibit A.

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           In addition, the issues presented and the demands asserted in the two actions are identical.

   At issue in both actions is the availability of insurance coverage for the judgment against Knight

   in the Underlying Litigation. Here, in the First-Filed Declaratory Judgment Action, ASIC seeks a

   declaration of no coverage under its policy.46 In addition to its coverage defenses, ASIC also

   asserts that its policy has not been triggered because the underlying primary policy issued by ACE

   has not been exhausted.47 In the Second-Filed Declaratory Judgment Action, Rippy claims that

   ACE and ASIC breached their policies of insurance and seeks a declaration of coverage under the

   ACE and ASIC policies.48 The core issues in the two pending declaratory judgment actions, i.e,

   insurance coverage to Knight for the Underlying Litigation, are identical.49 Because it is

   undisputed that there is “substantial overlap” between the two declaratory judgment actions, ASIC

   respectfully submits that it is incumbent upon this Court to decide the instant action since it was

   the First-Filed Declaratory Judgment Action. Moreover, as will be shown below in the Trejo

   analysis, there are no compelling circumstances that exist in the instant suit that would preclude

   this Court from adhering to the first-to-file rule.

                C. An Actual Controversy Exists Between the Parties.

           Because this Court is the proper court to adjudicate the issues, this Court must determine

   whether an actual controversy exists between ASIC and ACE, on the one hand, and Knight and

   Rippy, on the other hand, and whether the issues are justiciable. As shown below, contrary to

   Rippy’s assertion, an actual controversy does exist and the issues are justiciable.

           The Declaratory Judgment Act provides that the Court, “[i]n a case of actual controversy

   within its jurisdiction . . . upon the filing of an appropriate pleading, may declare the rights and


   46
      See R. Doc. 1.
   47
      Id.
   48
      See R. Doc. 1-2.
   49
      See R. Doc. 1; R. Doc. 1-2, pp. 19–20 ¶¶ 49–50.

                                                         9
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   other legal relations of any interested party seeking such declaration, whether or not further relief

   is or could be sought. Any such declaration shall have the force and effect of a final judgment or

   decree and shall be reviewable as such.”50 “Since its inception, the Declaratory Judgment Act has

   been understood to confer on federal courts unique and substantial discretion in deciding whether

   to declare the rights of litigants.”51 Furthermore, dismissing a declaratory judgment action based

   on nothing but a “whim or personal disinclination” would be an abuse of the district court’s broad

   discretion.52

           Knight contends that ASIC’s claims related to the Underlying Lawsuit are moot due to the

   bankruptcy court’s discharge of Knight’s personal liability in the Joint Chapter 11 Plan of

   Reorganization, and therefore, are insufficient to justify an actual controversy.53 Knight is

   mistaken.

          The Joint Chapter 11 Plan of Reorganization that was confirmed by the United States

   Bankruptcy Court for the Western District of Louisiana states, in pertinent part,

   “Notwithstanding anything to the contrary in the Plan, the Confirmation Order, any bar date

   notice or other order of the Bankruptcy Court:

                   *                       *                      *
           (b) all Insurance Policies and the respective obligations of the Debtors (and, after the
          Effective Date, of the Reorganized Debtors) and the Insurers under such Insurance
          Policies, whether arising before or after the Effective Date, shall survive and shall not
          be amended, modified, released, discharged or impaired in any respect, and shall be
          honored, notwithstanding any release in the Plan or Confirmation Order, in accordance
          with the Insurance Policies and applicable non-bankruptcy law;

           (c) nothing shall alter, modify, amend, affect, impair or prejudice the legal, equitable
          or contractual rights, obligations, and defenses of the Insurers, the Debtors (or, after
          the Effective Date, the Reorganized Debtors), or any other individual or entity, as
          applicable, under any Insurance Policies;

   50
      28 U.S.C. § 2201(a).
   51
      Wilton v. Seven Falls Co., 515 U.S. 277, 286 (1995).
   52
      Rowan Cos. v. Griffin, 876 F.2d 26, 28–29 (5th Cir. 1989) (quotation omitted).
   53
      See R. Doc. 42, pp. 7–8.

                                                           10
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           (d) the injunctions set forth in Article VIII.E of the Plan, if and to the extent
          applicable, shall be deemed lifted without further order of this Bankruptcy Court,
          solely to permit:
                   *                      *                      *
           (II) the Insurers to administer, handle, defend, settle, and/or pay, under and in
          accordance with the terms of the applicable Insurance Policy and without further order
          of this Bankruptcy Court, (A) workers’ compensation claims; (B) claims where a
          claimant asserts a direct claim against any Insurer under applicable non-bankruptcy
          law, or an order has been entered by this Bankruptcy Court granting a claimant relief
          from the automatic stay or the Plan injunction to proceed with its claim (but not against
          the property of a Reorganized Debtor other than any applicable Insurance Policy).”54

   Furthermore, the Agreed Order Granting Relief from the Automatics Stay states, in pertinent part,

   “IT IS FURTHER ORDERED that nothing herein (i) alters or amends the terms and conditions of

   any insurance policies issued to the Debtor . . . or (v) precludes or limits, in any way, any rights of

   [insurer] to contest and/or litigate the existence, primacy and/or scope of available coverage.”55

           Clearly, the bankruptcy court did not intend to strip ASIC of its ability to properly evaluate

   and determine its coverage obligations (or lack thereof) with regard to the claims against Knight

   in the Underlying Lawsuit. ASIC’s instant declaratory judgment action does not violate the

   bankruptcy court’s orders; in fact, it is contemplated by them, and “without further order of this

   Bankruptcy Court.”56

           Rippy, on the other hand, contends that when ASIC filed the present action against Knight,

   it violated a Texas Rule of Civil Procedure Rule 11 Agreement filed in the Underlying

   Lawsuit.57Rippy further argues that ASIC’s continued defense of Knight in the appeal to the Texas

   Supreme Court in the Underlying Lawsuit demonstrates that there is absolutely no “case or

   controversy” at this time between ASIC and Knight.58 Rippy too is mistaken on both fronts.


   54
      See Exhibit B, pp. 12–13 ¶ D. Insurance Policies.
   55
      See R. Doc. 1-4, p. 3.
   56
      See Exhibit B, pp. 12–13 ¶ D. Insurance Policies.
   57
      See R. Doc. 36-1, p. 5 ¶ 2.
   58
      See id.

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            A Rule 11 agreement was entered in the Underlying Lawsuit between Knight and Rippy,

   which states that Plaintiffs, i.e., Rippy:

                     agree not to execute on the judgment against Defendant or its
                     insurers until the appellate courts’ issuance of the mandate. As part
                     of this agreement, Plaintiffs agree not to file or assert a judgment
                     lien, abstract judgment, writ of garnishment, or any other post-
                     judgment enforcement mechanism in any court or elsewhere against
                     Defendant prior to the issuance of the mandate. This agreement is
                     not intended to prejudice any rights Plaintiffs may have to enforce
                     the judgment once the appellate courts’ mandate issues.59

   Neither Knight nor its insurers, who were not parties to the Underlying Lawsuit, agreed to abstain

   from having their rights under the policy declared, which is the purpose of the present action.60

            Furthermore, Rippy’s argument that there is no case or controversy between ASIC and

   Knight because ASIC is defending Knight in the Underlying Lawsuit is baseless and erroneous.61

   ASIC is an excess insurer and has no obligation to defend Knight. Merely because an insurer

   participates in an insured’s defense, which ASIC has a right to do under the policy, does not mean

   that there is no actual controversy between the insurer and the insured. Indeed, an agreement to

   defend subject to a reservation of rights is evidence of an actual controversy between insurer and

   insured. There is no doubt that an actual controversy exists between the insurers (ASIC and ACE),

   on the one hand, and the insured (Knight) and judgment creditor (Rippy) on the other.

                D. This First-Filed Declaratory Judgment Action is Justiciable.

            Rippy argues that the declaration ASIC seeks from this Court is not justiciable or ripe for

   review. However, Rippy is currently seeking the same remedy in the United States District Court




   59
      See R. Doc. 36-8, pp. 2–6.
   60
      See id.
   61
      ASIC disputes many of the factual assertions Rippy makes in its Motion to Dismiss. For example, ASIC and ACE
   jointly hired appellate counsel for Knight, and that counsel attended the trial of the Underlying Lawsuit. However, as
   the Underlying Lawsuit does not address coverage issues, and neither ASIC nor ACE were parties to the Underlying
   Lawsuit, such counsel was acting solely on behalf of Knight—not ASIC or ACE. See R. Doc. 36-1, pp. 5, 20, 27.

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   for the Southern District of Texas. It is disingenuous that Rippy actively opposes the instant action

   when it has acknowledged itself that these issues are ripe and are seeking adjudication on them in

   a different federal court. Despite Rippy’s claims to the contrary, the determination of whether the

   ASIC policy provides coverage for Knight’s liability arising out of the already litigated Underlying

   Lawsuit is ripe for adjudication. Although there is a pending Petition for Review in the Texas

   Supreme Court related to the Underlying Lawsuit, the record is still the record. The facts have

   been developed, there is no ongoing discovery, there has been a ruling, and there is a judgment.

   Based upon that, this Court can, as a matter of law, apply the policy to the facts that have already

   been developed in the Underlying Lawsuit to make a legal conclusion as to the lack of availability

   of coverage.

           The Fifth Circuit has explained that when considering a declaratory judgment action, a

   district court must engage in a three-step inquiry to determine whether to decide or dismiss a

   complaint for declaratory relief.62 In deciding whether to abstain from exercising jurisdiction in a

   declaratory judgment action, a district court must consider: “(1) whether the declaratory action is

   justiciable; (2) whether the court has the authority to grant declaratory relief; and (3) whether to

   exercise its discretion to decide or dismiss the action.”63

                    1. The Declaratory Action is Justiciable as there is an Actual Controversy
                       Among the Parties that is Ripe for Adjudication.

           In determining whether to grant a declaratory judgment, the Court must first determine

   whether the declaratory judgment is justiciable.64 The justiciability doctrines of standing,

   mootness, political question, and ripeness derive from Article III's “case or controversy”




   62
      Orix Credit Alliance, Inc. v. Wolfe, 212 F.3d 891, 895 (5th Cir. 2000).
   63
      Id.; Sherwin-Williams Co. v. Holmes Cnty., 343 F.3d 383, 387 (5th Cir. 2003).
   64
      See Orix, 212 F.3d at 895.

                                                           13
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   requirement.65 In a declaratory judgment action, justiciability often turns on ripeness. 66 The

   purpose of this doctrine is to forestall “entangl[ement] . . . in abstract disagreements” through

   “avoidance of premature adjudication.”67 “The key considerations are ‘the fitness of the issues for

   judicial decision and the hardship to the parties of withholding court consideration.’”68

            Under Fifth Circuit jurisprudence, the question of the duty to indemnify is premature and

   nonjusticiable until the underlying liability lawsuit is resolved and the defendant is cast in

   judgment.69The Fifth Circuit has articulated, however, that a case is generally ripe if the remaining

   questions are purely legal; a case is not ripe if further factual development is required. 70

            In Hardware Mutual Casualty Company v. Schantz, 178 F.2d 779, 779–80 (5th Cir. 1949),

   the insurer filed a declaratory judgment seeking an adjudication of the rights of the parties under

   a policy. The insured sought to have the case dismissed for lack of jurisdiction, asserting that the

   court lacked jurisdiction over the case because no actual controversy existed as there was a pending

   wrongful death state court suit against the insured and the sought declaration was not yet

   justiciable.71 The lower court agreed with the insured and dismissed the suit.72 On appeal, the Fifth

   Circuit evaluated whether the trial court had jurisdiction.73The Fifth Circuit noted that the insurer

   sought a declaratory judgment in an effort to escape liability in the underlying state court suit. 74 In

   determining whether the lower court had jurisdiction, the Fifth Circuit held that the declaratory


   65
      Choice Inc. of Tex. v. Greenstein, 691 F.3d 710, 714–15 (5th Cir. 2012).
   66
      See id.; Orix, 212 F.3d at 895; Rowan, 876 F.2d at 27–28.
   67
      Abbott Labs. v. Gardner, 387 U.S. 136, 148, 87 S. Ct. 1507, 18 L.Ed.2d 681 (1967), abrogated on other grounds
   by Califano v. Sanders, 430 U.S. 99, 97 S. Ct. 980, 51 L.Ed.2d 192 (1977).
   68
      New Orleans Public Serv., Inc. v. Counsel of City of New Orleans, 833 F.2d 583, 586 (5th Cir. 1987) (quoting
   Abbott Labs., 387 U.S. at 149, 87 S. Ct. 1507).
   69
      New England Ins. Co. v. Barnett, 465 Fed. Appx. 302, 308 (5th Cir. 2012) (noting the duty to indemnify is triggered
   by the actual facts that establish liability in the underlying is cast in judgment, the issue of indemnity is premature and
   non-justiciable).
   70
      See New Orleans Pub. Serv., 833 F.2d at 587.
   71
      Id.
   72
      Id.
   73
      Id.
   74
      Id.

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   judgment presented an actual controversy because the parties disputed coverage and was indeed

   ripe for review.75

           Similarly in Central Surety & Insurance Corporation v. Hampton, 179 F.2d 261 (5th Cir.

   1950), the Fifth Circuit addressed whether the federal district court had jurisdiction over an action

   for declaratory judgment filed by an automobile liability insurer seeking a declaration as to its

   liability under such policy. The Fifth Circuit found that declaration on the issue of liability under

   the policy of insurance was justiciable and ripe for review, notwithstanding the pendency of an

   underlying state court action against the insured relating to the death of the insured’s employee.76

   The Fifth Circuit explained that the question of the insurer’s obligations and liabilities under the

   policy could not be determined in the state court since the coverage of the policy was not a material

   question to be disposed of in that suit.77

           Here, ASIC’s insurance policy excludes coverage based on the facts found in the

   Underlying Lawsuit.78 ASIC does not make this assertion merely based on the allegations made

   the Underlying Lawsuit’s complaint, but rather on the factual findings and the Judgment against

   Knight in the Underlying Lawsuit. ASIC’s indemnity obligation is not premature because the facts

   establishing Knight’s liability have already been determined, and the issue of coverage is purely a

   question of law. Accordingly, this First-Filed Declaratory Judgment Action is ripe for adjudication,

   as the only questions ASIC is asking this Court to decide are purely legal ones. Therefore, because

   the determination of whether ASIC’s policy will cover the damages established in the Underlying

   Lawsuit is ripe for adjudication, this action is justiciable.79 Here, just like in Hardware Mutual and



   75
      Id.
   76
      Id.
   77
      Id.
   78
      See R. Doc. 1.
   79
      The issues on appeal in the Texas Supreme Court will have no impact on coverage for Rippy’s damages contained
   in the Underlying Lawsuit’s record.

                                                         15
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   Central Surety, there is an actual controversy in the instant matter sufficient to justify the exercise

   of this Court’s subject matter jurisdiction that is ripe for adjudication.

                    2. This Court has Authority to Grant Declaratory Relief.

           Upon determining that ASIC’s declaratory judgment claims are justiciable (which they

   are), the Court must also determine whether it has the authority to grant declaratory relief. The

   Fifth Circuit has explained that “when a state lawsuit is pending, more often than not, issuing a

   declaratory judgment will be tantamount to issuing an injunction—providing the declaratory

   plaintiff an end run around the requirements of the Anti-Injunction Act.”80 The Anti-Injunction

   Act states: “A court of the United States may not grant an injunction to stay proceedings in a State

   court except as expressly authorized by Act of Congress, or where necessary in aid of its

   jurisdiction, or to protect or effectuate its judgments.”81 Therefore, the district court cannot

   consider the merits of a declaratory judgment action when (1) a declaratory judgment action

   defendant has previously filed a cause of action in state court against the declaratory judgment

   action plaintiff; (2) the state court case involves the same issues as those involved in the federal

   court case; and (3) the district court is prohibited from enjoining the state court proceedings under

   the Anti-Injunction Act.82

           Here, ASIC is not a party in the Underlying Lawsuit in state court and there are not any

   state-court proceedings involving the same issues now being examined.83 Therefore, the Anti-

   Injunction Act does not apply, as there is no pending state-court action between ASIC and any of

   the defendants in this case, including Knight and Rippy as an intervenor, or ACE as a potential




   80
      Travelers Ins. Co. v. Louisiana Farm Bureau Fed'n, Inc., 996 F.2d 774, 776 (5th Cir. 1993).
   81
      28 U.S.C. § 2283.
   82
      Hanover Ins. Co. v. Superior Labor Servs., Inc., 179 F.Supp. 3d 656, 670–71 (E.D. La. 2016) (citing Travelers,
   F.2d at 776; Sherwin–Williams, 343 F.3d at 387.
   83
      See R. Doc. 1-3; Exhibit A.

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   intervenor. Accordingly, the Court’s authority to grant declaratory relief on the duty to indemnify

   turns on whether subject matter jurisdiction is proper.84

            As established in ASIC’s Complaint for Declaratory Judgment, this Court has subject

   matter jurisdiction over the instant claim pursuant to 28 U.S.C. 1332(a) because the parties in the

   instant litigation are completely diverse and the amount in controversy exceeds $75,000.85

   Therefore, since the Court has diversity jurisdiction over this matter and the Anti-Injunction action

   does not apply because there is no pending state court action between ASIC and any of the

   declaratory judgment defendants, the Court has the authority to grant declaratory relief here.

                     3. This Court Should Exercise its Discretion to Decide ASIC’s Declaratory
                        Judgment.

            As ASIC’s First-Filed Declaratory Judgment Action presents a justiciable claim, and this

   Court has the authority to issue the declaratory judgment, the only remaining consideration is

   whether this Court should accept or decline jurisdiction over this action. The Fifth Circuit has

   developed seven nonexclusive factors—the so-called “Trejo factors”—that a district court should

   consider when deciding whether to exercise jurisdiction over a declaratory judgment action:

                     (1) whether there is a pending state action in which all of the matters
                     in controversy may be fully litigated; (2) whether the plaintiff filed
                     suit in anticipation of a lawsuit filed by the defendant; (3) whether
                     the plaintiff engaged in forum shopping in bringing the suit; (4)
                     whether possible inequities in allowing the declaratory plaintiff to
                     gain precedence in time or to change forums exist; (5) whether the
                     federal court is a convenient forum for the parties and witnesses; (6)
                     whether retaining the lawsuit would serve the purposes of judicial
                     economy; and (7) whether the federal court is being called on to
                     construe a state judicial decree involving the same parties and
                     entered by the court before whom the parallel state suit between the
                     same parties is pending.86



   84
      See Sherwin–Williams, 343 F.3d at 387–88.
   85
      See R. Doc. 1, p. 2 ¶ 3.
   86
      See St. Paul Ins. Co. v. Trejo, 39 F.3d 585, 590–91 (5th Cir. 1994).

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   These nonexclusive Trejo factors ensure district courts considering whether to exercise jurisdiction

   over a declaratory judgment suit adhere to three fundamental principles of our justice system:

   federalism, fairness, and efficiency.87 As set forth below, the Trejo factors weigh in favor of

   exercising jurisdiction and deciding the instant declaratory judgment.

                             a. Applying the Trejo Factors: The Federalism Concerns.

           The first Trejo factor (whether there is a pending state action in which all the matters in the

   controversy may be litigated) and the seventh Trejo factor (whether the federal court is being called

   on to construe a state judicial decree involving the same parties and entered by the court before

   whom the parallel state suit between the same parties is pending) require the Court to examine

   comity and federalism concerns.88

           The first Trejo factor requires comparison of the declaratory judgment action with the

   underlying state court action.89 If the declaratory judgment action presents the same issues as the

   state court action, involves the same parties, and is not governed by federal law, the federal court

   should generally decline to exercise jurisdiction.90 The Fifth Circuit has explained that a state court

   action is not truly parallel if it does not involve all the same parties or issues as the declaratory

   judgment action.91 The Fifth Circuit has also made clear that while there is no per se rule requiring

   a district court to hear a declaratory judgment action where there is no pending state litigation, the

   absence of a pending parallel state litigation is a factor that weighs strongly against dismissal of

   the federal declaratory judgment action.92




   87
      See Sherwin-Williams, 343 F.3d at 390–91.
   88
      See id.
   89
      See id. at 393–94.
   90
      See id.
   91
      See id. at 394, n. 5.
   92
      Id.

                                                     18
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           Here, ASIC is not a party to the Underlying Lawsuit in state court. Moreover, whereas the

   underlying state court lawsuit involved issues of fact, fault, and causation, the determination of

   whether there is a duty to indemnity involves a straightforward examination of the Underlying

   Lawsuit’s factual findings and the insurance policy ASIC issued to Knight. Furthermore, the

   resolution of the Underlying Lawsuit that is currently pending petition for review in the Texas

   Supreme Court will not determine ASIC’s duty to provide coverage. The state and federal

   proceedings are clearly not parallel. As the lack of a pending parallel state proceeding weighs

   strongly against dismissal, the first Trejo factor weighs in favor of this Court exercising jurisdiction

   over ASIC’s First-Filed Declaratory Judgment Action.93

           Alternatively, Knight argues that while there is not a parallel state court case, there is a

   parallel federal “identical suit” pending, which should be considered under this factor.94 Of course,

   the first Trejo factor specifically examines whether there is a pending state court action where the

   matters in controversy may be fully litigated. Even assuming arguendo that the parallel Second-

   Filed Declaratory Judgment Action should be considered under this factor, as previously

   established, this instant declaratory judgment action is the First-Filed Declaratory Judgment

   Action. As such, and given that there is no parallel state court action pending in which the matters

   in controversy in the instant case can be fully litigated, this factor weighs in favor of this Court

   deciding this action.

           The seventh Trejo factor focuses on pending parallel state court actions.95 Here, the

   Underlying Lawsuit and this instant action are clearly not parallel, so the seventh Trejo factor does




   93
      See id. at 394.
   94
      See R. Doc. 41, pp. 14–15.
   95
      See Sherwin-Williams, 343 F.3d at 390–91.

                                                     19
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   not need to be examined. Accordingly, this factor is neutral in determining whether this Court

   should exercise jurisdiction.

                             b. Applying the Trejo Factors: The Fairness Concerns.

           The second, third, and fourth Trejo factors analyze whether the plaintiff is using the

   declaratory judgment process to gain access to a federal forum on improper or unfair grounds.

   Federal declaratory judgment suits are routinely appropriately filed in anticipation of other

   litigation.96 As such, the Fifth Circuit has voiced that these three Trejo labels cannot be literally

   applied.97 A proper purpose of a declaratory judgment is to allow potential defendants to resolve

   a dispute without waiting to be sued or until the statute of limitations expires. 98 Further, the mere

   fact that a declaratory judgment action is brought in anticipation of other suits does not require

   dismissal of the declaratory judgment action by the federal court.99

           Here, ASIC filed the instant suit against Knight on December 7, 2021.100 Rippy filed its

   declaratory judgment against ASIC, ACE, and improperly joined Risk Specialists on December

   29, 2021, after ASIC had already filed the instant suit.101 It was eminently reasonable of ASIC to

   conclude that coverage under the policy for Knight’s liability established in the Underlying

   Lawsuit would become an issue following the judgment (which is in excess of $5 million),

   particularly since ACE’s underlying policy is subject to a $1 million limit and Knight’s personal

   liability is off the table pursuant to its reorganization in bankruptcy court. Even though the final

   judgment was rendered in the Underlying Lawsuit on June 4, 2018, ASIC still did not file the




   96
      See id. at 391–92.
   97
      Id.
   98
      See Texas Employers' Ins. Assoc. v. Jackson, 862 F.2d 491, 505 (5th Cir. 1988).
   99
      See Sherwin-Williams, 343 F.3d at 397.
   100
       See R. Doc. 1.
   101
       See R. Doc. 1-2.

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   instant suit until after the judgment was appealed and affirmed, not once, but twice.102

   Furthermore, ASIC warned Knight of the significant coverage issues related to Rippy’s claims

   through several coverage position letters.103 In the latest letter issued to Knight on February 26,

   2020, ASIC advised Knight that if the judgment was affirmed on appeal, there would be no

   coverage under the ASIC policy for the judgment in favor of Rippy and against Knight. 104 Thus,

   even though ASIC filed the instant suit with knowledge that Rippy might eventually seek to

   recover the judgment against Knight from ASIC, this action was not the product of ASIC

   attempting to gain access to a federal forum on improper or unfair grounds. Furthermore, the fact

   that a declaratory judgment action is brought in anticipation of a coverage dispute does not require

   dismissal of the declaratory judgment action by the federal court.105 Given the nature of the facts,

   the second Trejo factor does not weigh against this Court exercising jurisdiction.

            As to the third Trejo factor, the Fifth Circuit has noted that the filing of every lawsuit

   requires forum selection.106 Merely filing a declaratory judgment action in a federal court with

   jurisdiction to hear it, in anticipation of state court litigation, is not in itself improper anticipatory

   litigation or otherwise abusive “forum shopping.”107 Moreover, courts are less likely to find forum




   102
       Tenth Circuit Court of Appeals, at Waco, Texas, affirmed the June 4, 2018 judgment on December 30, 2020. On
   rehearing, the Texas Tenth Circuit Court of Appeals reaffirmed the trial court’s judgment once again on November
   10, 2021. See R. Doc. 36-1, p. 7 ¶ f–h.
   103
       ASIC issued multiple coverage position letters to Knight related to the ASIC policy, which was issued and delivered
   to Knight in Louisiana. Specifically, ASIC issued coverage position letters to Knight on March 26, 2018, August 9,
   2018, and February 26, 2020. See ASIC’s March 26, 2018 coverage position letter to Knight, attached hereto as Exhibit
   D; ASIC’s August 9, 2018 coverage position letter to Knight, attached hereto as Exhibit E; ASIC’s February 26, 2020
   coverage position letter to Knight, attached hereto as Exhibit F. In each of those letters, ASIC warned Knight of
   significant coverage issues regarding Rippy’s claims, and ASIC reserved its right to disclaim coverage. See id. In its
   February 26, 2020 letter, ASIC advised Knight that if the judgment is affirmed on appeal, there would be no coverage
   under the ASIC policy for the judgment in favor of Rippy and against Knight. See Exhibit F.
   104
       See Exhibit F.
   105
       See Sherwin-Williams, 343 F.3d at 397.
   106
       See id. at 391–92.
   107
       Id. at 391.

                                                            21
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   shopping where, as here, (1) a foreign insurer files a diversity action in federal court, and (2) the

   selection of the federal forum does not change the applicable law.108

           Here, the ASIC policy was issued by ASIC, an eligible surplus lines insurer, to the Named

   Insured, Knight, in Lafayette, Louisiana, through Knight’s surplus lines producing broker, Knox

   Insurance Group, LLC, also located in Lafayette, Louisiana.109 Because the ASIC policy was

   issued to Knight in Louisiana through a Louisiana producing broker, ASIC is merely asking this

   Court to make a determination of coverage under a policy that is governed by Louisiana’s laws,

   statutes, and regulations for Knight’s liability established in the Underlying Lawsuit. 110 As such,

   ASIC did not engage in impermissible forum shopping by filing this declaratory judgment action

   in this federal Court (which has jurisdiction to hear it), and the third Trejo factor weighs in favor

   of this Court exercising jurisdiction over the instant action.

           As to the fourth Trejo factor, ASIC was not a party to the Underlying Lawsuit, and as such

   it is not seeking to “change forum.” As explained above, the Underlying Lawsuit in state court and

   this action are not parallel in any material sense. There are no inequities that flow from allowing

   this action to proceed while the Underlying Lawsuit remains pending in the Texas Supreme Court

   under a petition for review. Thus, the fourth Trejo factor weighs in favor of this Court exercising

   jurisdiction.

                             c. Applying the Trejo Factors: The Efficiency Concerns.

           The fifth and sixth Trejo factors primarily address efficiency considerations.111 Under an

   efficiency analysis, a federal district court should avoid duplicative or piecemeal litigation where




   108
       Id. at 399.
   109
       See Declaration of Tanya E. Kent of Risk Specialists filed in the United States District Court for the Southern
   District of Texas, Civil Action No. 4:22-cv-00276, attached hereto as Exhibit G; see also Exhibit A; R. Doc. 1-11.
   110
       See infra n. 126.
   111
       See Sherwin-Williams, 343 F.3d at 391.

                                                           22
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   possible.112 A federal court should be less inclined to hear a case if necessary parties are missing

   from the federal forum because that leads to piecemeal litigation and duplication of effort in state

   and federal courts.113

            Here, once again, the Underlying Lawsuit, which has been litigated to a judgment, is not a

   parallel suit to the instant action. The witnesses in the Underlying Lawsuit have nothing to do with

   the issue of coverage, which is the only issue before this Court. Nevertheless, the witnesses in the

   Underlying Lawsuit have already testified and it is not necessary to consider whether the federal

   forum is more convenient for them. Additionally, Rippy’s Second-Filed Declaratory Judgment

   Action is already pending in federal court, thus this Court need not consider whether the federal

   forum is convenient for the parties. Thus, the fifth Trejo factor is neutral.

            Finally, the Underlying Lawsuit has been pending since December 28, 2010.114 The

   Underlying Lawsuit has been fully litigated, the facts establishing Knight’s liability have been

   determined, and a judgment has been rendered.115 Further, it would be a waste of judicial resources

   to dismiss this action when ASIC is merely asking this Court to make a legal determination of

   coverage under a policy of insurance. Exercising jurisdiction is clearly in the interest of judicial

   economy, and thus, the sixth Trejo factor weighs in favor if this Court deciding the instant

   declaratory judgment action.

            As set forth above, all three aspects of the Trejo Factors—federalism, fairness, and

   efficiency—support this Court exercising jurisdiction and deciding the instant declaratory

   judgment.




   112
       See id.
   113
       Id.
   114
       See R. Doc. 36-1, p. 6 ¶ 4(a).
   115
       See R. Doc. 1-6.

                                                     23
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                E. Legal Standard for a Stay of Proceedings.

             “[T]he power to stay proceedings is incidental to the power inherent in every court to

   control the disposition of the causes on its docket with economy of time and effort for itself, for

   counsel, and for litigants.”116 It is, therefore, well established that a federal district court has wide

   discretion to grant a stay in a pending matter.117 Whether to grant a stay “calls for the exercise of

   judgment, which must weigh competing interests and maintain an even balance.”118

            Since the issues in the instant suit are justiciable,119 this Honorable Court should decide

   ASIC’s declaratory judgment and deny the Motions to Dismiss. However, in the event that this

   Court deems the instant action non-justiciable based upon the petition for review pending in the

   Underlying Lawsuit in Texas Supreme Court, ASIC respectfully requests that this Court stay the

   instant matter pending resolution of the Underlying Lawsuit.

                F. Venue is Proper in the Western District of Louisiana.

            Rippy also alleges that ASIC’s declaratory judgment action should be dismissed based on

   improper venue.120 As explained below, however, courts have consistently held that the proper

   venue for a declaratory judgment action regarding insurance coverage includes the district where

   the policy was issued. Here, the ASIC Policy was issued to Knight Oil Tools, Inc. in Lafayette,

   Louisiana, through the producing broker, Knox Insurance Group, LLC, in Lafayette, Louisiana.121

   Because the policy was issued in the Western District, venue is proper in this Court.


   116
       Landis v. North Am. Co., 299 U.S. 248, 254 (1936).
   117
       See Amec Constr. Mgmt., Inc. v. Fireman’s Fund Ins. Co., CV 13-00718-JJB-EWD, 2016 WL 7468808, at *2
   (M.D. La. May 31, 2016).
   118
       Landis, 299 U.S. at 254–55; see also Atterbery Truck Sales, Inc. v. Navistar, Inc., 12-0497, 2012 WL 2952762, at
   *2 (W.D. La. July 16, 2012).
   119
       As shown in this brief and as are exemplified by the fact that Rippy is currently seeking the same remedy requested
   here in the United States District Court for the Southern District of Texas. It is noteworthy that Rippy actively opposes
   the instant action when it has acknowledged that these issues are ripe and is seeking adjudication on them in a different
   federal court.
   120
       See R. Doc. 36-1.
   121
       See Exhibit G; see also R. Doc. No. 1-11.

                                                             24
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            Venue is governed by 28 U.S.C. § 1391, which provides: “A civil action may be brought

   in . . . (2) a judicial district in which a substantial part of the events or omissions giving rise to the

   claim occurred.”122 This transactional venue provision is available as an alternative to Section

   1391(a)(1) that permits venue to be based on the residence of the defendants, meaning venue can

   be proper in a district if either the transactional or the residential provision is satisfied.123 It is now

   “absolutely clear” that there can be more than one district in which a substantial part of the events

   giving rise to the claim occurred.124

            In Clarendon Nat. Ins. Co. v. T.M.I. Enterprises, LLC, 2008 WL 3838025 (W.D. La.

   8/14/08), an insurer filed a declaratory judgment action seeking a declaration of non-coverage

   under its policy for an underlying claim arising out of a tanker trailer rupture in Bogalusa. Like

   Rippy, the insured defendant in Clarendon argued that, because the underlying claim took place

   in the Eastern District, venue was not proper in the Western District. This Court rejected that

   argument.125 Although the underlying claim did not occur in the Western District, venue in the

   Western District was proper because a substantial part of the events or omissions giving rise to the

   claim occurred in this district. The insurer established that the policy was bound and generated in

   Shreveport, that the policy was issued from Shreveport, that the insurer’s coverage decisions were

   made in Shreveport, and that all claims handling activities occurred in Shreveport.126 As the


   122
       28 U.S.C. § 1391(a)(2).
   123
       See 14D Wright, Miller & Cooper, Federal Practice and Procedure: Jurisdiction 3rd § 3806.1, p. 200 (2007 ed.).
   124
       Id. at p. 201.
   125
       See id.
   126
       Id. at p. 2; see also Praetorian Specialty Ins. Co. v. Aguillard Const. Co., Inc., 829 F.Supp. 2d 456 (W.D. La.
   5/20/10) (substantial part of events giving rise to insurance coverage dispute occurred in Western District, and thus it
   was an appropriate venue for insurer’s declaratory judgment action seeking declaration that its policies provided no
   coverage for underlying accident, where policies were received, rated, underwritten, bound, generated, issued, and
   administered within Western District); Starnet Ins. Co. v. Fueltrac, Inc., 2009 WL 1210508 (W.D. La. 5/1/09) (in
   insurance coverage declaratory judgment action, venue is proper in district where policy was negotiated and delivered
   and premiums were paid); American Motorists Ins. Co. v. Cellstar, Corp., 61 Fed. Appx. 119 (5th Cir. 2003) (court
   held that district in which formation and execution of policy occurred was proper venue); Arch Specialty Ins. Co. v.
   Entertainment Specialty Services, Inc., 2005 WL 696897 (S.D.N.Y. 2005) (New York was a proper venue for
   declaratory action regarding insurance coverage related to a Texas lawsuit when defendants obtained the policy

                                                             25
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   Southern District of Texas has acknowledged, even when the insured is not located in a city, the

   procurement of a policy in a city for a company based elsewhere by its insurance broker is a

   satisfactorily significant event to establish venue in that city.127

           The fact that the underlying claim did not occur in this district does not render this district

   an improper venue. Indeed, as the court in Transcontinental Ins. Co. v. Coreslab Structures

   (OKLA) Inc., 2002 WL 570880, *FN8 (N.D. Tex. 4/12/02) noted, “[i]t is not uncommon for an

   insurance coverage contract dispute to be located in a different forum from that of the underlying

   claim.”128

           To resolve Rippy’s Motion to Dismiss, this Court does not need to determine the “best

   venue,” but only if the venue is proper.129 Because venue is proper in the Western District of

   Louisiana, Rippy’s Motion to Dismiss should be denied.




   through an agent from a New York office, negotiation involved correspondence to New York, the policy issued from
   New York and the claim for coverage was submitted to the New York office); Constitution Reinsurance Corp. v.
   Stonewall Ins. Co., 872 F.Supp. 1247 (S.D.N.Y. 1995) (New York was proper venue in declaratory action regarding
   coverage under reinsurance contracts for damages arising from Texas litigation when reinsurance contracts were
   negotiated by communications between Texas and New York, and contracts were executed and to be performed in
   New York); and Harleysville Ins. Co. of New Jersey v. Clark, 2006 WL 2135834 (D. N.J. 2006) (New Jersey was
   proper venue for declaratory action regarding insurance coverage for a Maryland car accident because the negotiation,
   payment and issuance of the policy to a New Jersey insured occurred in New Jersey).
   127
       Am. Motorists Ins., 61 Fed. Appx. 119, at *1 (5th Cir. 2003); see also Old Republic Ins. Co. v. Admiral Ins. Co.,
   2016 WL 10788990 (S.D. Tex. 8/8/16) (the delivery to and acceptance of a policy is a satisfactorily substantial event
   that can establish venue).
   128
       See, e.g., Nobel Ins. Co. v. Acme Truck Line, Inc., No. 99–2950, 2000 WL 298908, *3 (N.D. Tex. March 21, 2000)
   (denying defendant’s motion to transfer venue to the site of the underlying accident in an insurance coverage dispute
   case); AVEMCO Ins. Co. v. GSV Holding Corp., 1997 WL 566149, *6 (S.D.N.Y. September 11, 1997) (transferring
   venue to New Jersey even though the underlying accident occurred in New York because “the pivotal issue in this
   declaratory judgment action is the interpretation of an insurance policy between defendants” and that centers on
   telephone conversations in New Jersey); Evangelical Lutheran Church of America v. Atlantic Mutual Ins. Co., 973
   F.Supp. 820, 823 (N.D. Ill. 1997) (although the place where the sexual misconduct occurred was Texas, the important
   event underlying the declaratory judgment action, the decision to deny coverage, was made at the corporate offices in
   New York); AFA Enterprises, Inc. v. American States Ins. Co., 842 F.Supp. 902, 909 (S.D.W. Va. 1994) (transferring
   venue to Pennsylvania even though the underlying accident occurred in West Virginia because “the material facts of
   this litigation surround plaintiffs’ purchase of insurance from defendant and a previous insurer”); Home Ins. Co. v.
   Liberty Mutual Ins., 678 F.Supp. 1066, 1071 (S.D.N.Y. 1988) (place of accident giving rise to coverage dispute was
   unrelated to the sole issue to be determined—the parties’ understanding of the policy provisions).
   129
       Seariver Mar. Fin. Holdings, Inc. v. Pena, 952 F. Supp. 455, 459 (S.D. Tex. Sept. 6, 1996) (Atlas, J.).

                                                           26
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                G. Rippy Cannot Establish that a Transfer to the Southern District of Texas is
                   Appropriate.

            Next, Rippy argues, in the alternative, that this Court should transfer this case to the

   Southern District of Texas. Title 28, section 1404 of the United States Code provides: “[F]or the

   convenience of parties and witnesses, in the interest of justice, a district court may transfer any

   civil action to any other district or division where it might have been brought.” 130 Under this

   statute, Rippy, as the defendant, bears the burden of demonstrating that the Court, in the exercise

   of its sound discretion, should transfer this case.131 As the statute indicates, the moving party

   should first demonstrate that the district where the party would like the action transferred to is a

   district where the case “might have been brought.”132

            Assuming arguendo that venue is proper in the Southern District of Texas, this Court must

   next consider several public and private interest factors to determine if the convenience of the

   parties and witnesses and the interest of justice is best served by a transfer of venue, including: (1)

   the relative ease of access to sources of proof; (2) the availability of compulsory process to secure

   the attendance of witnesses; (3) the cost of attendance for willing witnesses; (4) all other practical

   problems that make trial of a case easy, expeditious and inexpensive; (5) the administrative

   difficulties flowing from court congestion; and (6) the local interest in having localized interests

   decided at home.133 “Although a plaintiff’s choice of venue is not a distinct factor in the venue

   transfer analysis, it is nonetheless taken into account as it places a significant burden on the movant

   to show good cause for the transfer. [A proper venue transfer] analysis directly manifests the

   importance that [ ] must [be] give[n] to the plaintiff’s choice . . . [W]hen the transferee venue is



   130
       28 U.S.C. § 1404(a).
   131
       See Time Inc. v. Manning, 366 F.2d 690, 698 (5th Cir. 1966).
   132
       See 28 U.S.C. § 1404(a).
   133
       See In re Volkswagen of Am., Inc., 545 F.3d 304, 315 (5th Cir. 2008).

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   not clearly more convenient than the venue chosen by the plaintiffs, the plaintiff’s choice should

   be respected.”134

            In its Motion to Dismiss, the only support Rippy provides in support of a transfer of venue

   is the fact that the underlying lawsuit and many of the underlying fact witnesses are in Texas; these

   factors, however, are irrelevant.135 The instant action seeks a declaration of non-coverage under

   the ASIC Policy for Knight’s liability, which has already been established through a trial and

   judgment in the Underlying Lawsuit.136 Rippy’s Motion to Dismiss is devoid of any other support

   and Rippy has failed to provide support for any of the six factors.137 The ASIC Policy was issued

   to Knight in Louisiana through a Louisiana broker.138 Louisiana has an interest in adjudicating

   disputes over contracts entered into in Louisiana. Further, Louisiana law will apply to the

   interpretation of the ASIC Policy.139 It is unlikely that any witnesses will be called at the trial of

   this declaratory judgment action; indeed, it is likely this action will be resolved via the summary

   judgment process, as opposed to trial, as this Court will be asked to apply the policy terms to the

   already-established underlying facts.

            When a defendant is hauled into court, some inconvenience is expected and acceptable.140

   Assuming that jurisdiction exists and venue is proper, the fact that litigating would be more

   convenient for the defendant elsewhere is not enough to justify transfer.141 In other words, the



   134
       Id.
   135
       Rippy continues to wrongfully allege that Risk Specialists is a citizen of Texas. As asserted in the notice of removal
   in the Southern District of Texas, Risk Specialists is not a citizen of Texas. See Exhibit A.
   136
       See R. Doc. 1.
   137
       See generally R. Doc. 36-1.
   138
       See Exhibit G; R. Doc. 1-11.
   139
       See Q Clothier New Orleans LLC v. Twin City Fire Ins. Co., 535 F.Supp. 3d 574, 580 (E.D. La. 2021), aff'd sub
   nom. Q Clothier New Orleans, L.L.C. v. Twin City Fire Ins. Co., 29 F.4th 252 (5th Cir. 2022) (noting that Louisiana’s
   choice of law rules provide that “the law of the state where the insurance contract was issued and executed generally
   governs the interpretation of that contract” (citing Pioneer Exploration, L.L.C. v. Steadfast Ins. Co., 767 F.3d 503,
   512 (5th Cir. 2014) (applying Louisiana law) (quoting Woodfield v. Bowman, 193 F.3d 354, 360 (5th Cir. 1999)).
   140
       See Def. Distributed v. Bruck, 30 F.4th 414 (5th Cir. 2022).
   141
       Id.

                                                              28
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   standard is not met by showing one forum is more likely than not to be more convenient, but

   instead the party must adduce evidence and arguments that clearly establish good cause for transfer

   based on convenience and justice.142 Rippy has utterly failed to “clearly demonstrate” that the

   Southern District of Texas is a “clearly more convenient” forum than this district, where the ASIC

   Policy was issued and where the broker who placed the policy resides.

                Therefore, ASIC respectfully submits that this Court should deny Rippy’s Motion to

   Dismiss regarding improper venue and deny transfer venue of the instant action.

          IV.      CONCLUSION

                Because the First-Filed Declaratory Judgment Action, which presents an actual

   controversy and is ripe for adjudication, addresses the same issue as the Second-Filed Declaratory

   Judgment—i.e., whether or not the ASIC policy provides coverage for the judgment against Knight

   in the Underlying Lawsuit filed by Rippy—ASIC respectfully requests that this Court deny the

   Motions to Dismiss and exercise jurisdiction over the instant action.

                                                           Respectfully Submitted,

                                                           /s/ Robert I. Siegel
                                                           ROBERT I. SIEGEL (#10263)
                                                           ALISTAIR M. WARD (#24693)
                                                           GIEGER, LABORDE & LAPEROUSE, LLC
                                                           701 Poydras Street, Suite 4800
                                                           New Orleans, Louisiana 70139-4800
                                                           Telephone: (504) 561-0400
                                                           Facsimile: (504) 561-1011
                                                           E-mail: rsiegel@glllaw.com
                                                           E-mail: award@glllaw.com
                                                           Attorneys for AIG Specialty Insurance Company




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   142
         See id. (citing In re Volkswagon, 545 F.3d at 314–315).

                                                              29
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                                    CERTIFICATE OF SERVICE

          I hereby certify that on this 29th day of April 2022, I electronically filed the foregoing with

   the Clerk of Court by using the CM/ECF system which will send a notice of electronic filing to

   counsel for all parties to this proceeding.

                                                         /s/ Robert I. Siegel
                                                         ROBERT I. SIEGEL (#10263)




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